UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

IN THE MATTER OF:

Grow Green MI Inc. Case No.24-31158-jda
Chapter 11
Debtor. Judge Applebaum

COVER SHEET FOR FIRST DAY MOTION TO USE CASH
COLLATERAL OR TO OBTAIN CREDIT

The debtor has filed a motion to use cash collateral or to obtain postpetition

financing, which is attached to this Cover Sheet.

In accordance with LBR 4001-2(b)

(E.D.M.), the debtor has identified below, by page and paragraph number, the location

in the proposed order accompanying the motion of each of the following provisions:

Provision Contained Location in
in Proposed Order
Proposed
(1) Provisions that grant liens on the estate’s claims] __—s_—s Yess
and causes of action arising under Chapter 5 of the Page, J_
Code. _X__ No
(2) Provisions that grant cross-collateralization} | —~Yes
protection to the prepetition secured creditor (i.e., Page, f__
clauses that secure prepetition debt with categories|__X No

of collateral that were not covered by the secured
party’s lien prepetition) other than liens granted
solely as adequate protection against diminution in

value of a prepetition creditor's collateral.

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(3) Provisions that establish a procedure or] _—‘Yes
conditions for relief from the automatic stay. Page, J
_X__ No
(4) Provisions regarding the validity or perfection of} = Ss“ Yes
a secured creditor's prepetition liens or that release Page.
claims against a secured creditor. _X_ No
(5) Provisions that prime any lien without that] —— ‘Yes
lienholder’s consént. Page, J___
_X_ No
(6) Provisions that relate to a sale of substantially all] == Yes
of the debtor's assets. Page, J__
_X__ No
(7) Provisions for the payment of professional fees} X Yes
of the debtor or any committees, including any Page _2 9
carve-outs for such payments. ____No 2
(8) Provisions for the payment of prepetition debt. ___—iYes
Page, J__
_X__ No
(9) Provisions that waive the debtor's exclusive right] ——=s_—s Yes
to file or solicit acceptances of a plan during the Page, _
time periods specified in 11 U.S.C. § 1121. _X_ No
(10) Provisions that require the debtor’s plan to be} ——‘ Yess
on terms acceptable to the secured creditor. Page, f_
_X_ No
(11) Provisions that require or prohibit specific terms] ss Yes
in the debtor’s plan. Page, J_
X__ No

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(12) Provisions establishing that proposing a plan Yes

inconsistent with the order constitutes a default. Page 4G
X_ No

(13) Provisions that waive surcharge under 11 Yes

U.S.C. § 506(c). Page iT
X__ No

(14) Provisions that address the rights and Yes

obligations of guarantors or co-obligors. Page Wg
X__ No

(15) Provisions that prohibit the debtor from seeking Yes

approval to use cash collateral without the secured Page Wd

creditor’s consent. X__ No

(16) Provisions that purport to bind a subsequent Yes

trustee. Page WT
X__ No

(17) Provisions that obligate the debtor to pay any Yes

of a secured creditor's professional fees. Page 4
X__ No

GOLDSTEIN, BERSHAD,& FRIED, P.C.

By: /s/ Scott M. Kwiatkowski
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Dated: June 21, 2024

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

IN THE MATTER OF:

Grow Green MI Inc. Case No.24-31158-jda
Chapter 11
Debtor. . Judge Applebaum

DEBTOR’S FIRST DAY MOTION FOR INTERIM AUTHORITY TO USE CASH
COLLATERAL AND FOR RELATED RELIEF

Grow Green MI Inc. (“Debtor”), pursuant to 11 U.S.C. § 363(c)(2), Fed. R. Bankr.
P. 4001(b), and Bankruptcy Rule 4001-2, hereby requests that this Court enter an order
in the form attached hereto as Exhibit 1 (the “Interim Order’); (1) authorizing the Debtor
to use cash collateral on an interim basis; (ii) scheduling a final hearing on the Debtor’s
use of cash collateral on a permanent basis (“Final Hearing”); and (iii) providing
adequate protection to the secured creditors listed in paragraph 1 below on account of
their respective prepetition liens and security interests, all of the foregoing in
accordance with the proposed interim order (the “Interim Order’) and the budget
projections attached to the Interim Order as Exhibit 2 to this Motion (the “Budget” and
the “Motion”). In support of the Motion, the Debtor respectfully states as follows:
Pursuant to Bankruptcy Code 4001:

1. The following disclosures are made pursuant to Bankruptcy Rule
4001(b)(1)(B):

(a) Name of the Entity with a Purported Interest in Cash Collateral:

Debtor is indebted to the following secured creditors and are secured by the following.
However, the Debtor makes no admission and takes no position at this time regarding
the validity, enforceability, priority, or perfection of any of the obligations, security
interests, and liens that may be asserted:

‘Debtor has listed the creditors with in interest in cash collateral in order of perfections

pursuant to the filed UCC-1 financing statements
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A. BFG Supply Co., LLC (“BFG”)-Secured lien on all assets of the Debtor. The
approximate amount of the debt is $66,000.00. Debtor disputes the security interest.

B. Amazon Capital Services (“Amazon”)- Secured lien on all assets of the Debtor
in the approximate amount of $285,998.00

C. Michigan Department of Treasury (“State of MI ”)- Secured Tax lien. The
approximate amount of the debt is $194,238.00

D. CT Corporation System (“CT”)- Secured lien on all assets of the Debtor. The
Debtor disputes debt asserts no funds owed.

(b) The Purpose for the Use of Cash Collateral: To fund debt
service and related payments to the Secured Creditors with an
interest in cash collateral, and to pay ordinary and necessary costs
and expenses of operating the Debtor's business and preserving
the value of the collateral and operating the Debtor's collateral in
the amounts set forth in the Budget. Use of cash collateral is also
needed to pay costs of the Debtor's professionals as may be
approved by this Court.

(c) The Material Terms and Duration of Use of Cash Collateral:
The Debtor is requesting the use of cash collateral, limited to the
amounts, and for the purposes, set forth on the Budget, on an
interim basis and pending a final hearing on the Motion (the
“Interim Period”), pursuant to the terms of the Interim Order.

(d) Liens, Cash Payments or Other Adequate Protection:
Replacement liens are provided under the Interim Order as to
Secured Creditors.

2. Pursuant to Bankruptcy Rule 4001, and to the extent not otherwise
described herein, the Debtor intends to use cash collateral to fund ordinary and
necessary costs of operations, limited to the amounts set forth on the Budget, as the
same may be supplemented after the Interim Period. Use of cash collateral is also
needed to pay costs of the Debtor’s professionals as may be approved by this Court.
The use of cash collateral shall be subject to a carve-out (the “Carve-Out”) for the
payment of (1) Unpaid professional fees, expenses, and disbursements in amounts not
to exceed the line items allocated to each professional under the Budget (in the
aggregate, the “Professional Expense Cap’). The Carve-Out shall be segregated
consistent with the Budget line items for professional fees, into a separate Debtor in

Possession Account (“Professional Fee Account’). Funds in the Professional Fee
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Account will remain property of the estate, and no professional may assert a lien or
other interest against the Professional Fee Account. The funds in the Professional Fee
Account may be disbursed to estate Professional upon court approval of their fees.

Jurisdiction and Venue

3. This Court has core jurisdiction to hear this matter and enter a final order
granting the relief requested herein pursuant to 28 U.S.C. §§ 1334 and 157(b)(2).

4, No request has been made for the appointment of a trustee or examiner.

Background

5. On June 20, 2024 (the "Petition Date"), the Debtor filed a voluntary petition for
relief under Chapter 11 of the United States Bankruptcy Code. Debtor is authorized to
operate its businesses as debtor-in-possession pursuant to Sections 1107 and 1108 of
the Bankruptcy Code.

6. The Debtors operations began in 2009 and it offered supplies to grow
vegetables and flowers. In 2010, the Debtor started an online web site and through paid
advertising exponentially grew its business. The Debtor spend the first 5 years of the
company growing the online ecommerce site. In 2017, the Debtor expanded operations
from 25,000 sqft to 75,000 sqft as business was growing and the extra space allowed
for growth of ecommerce web site, Amazon, and Ebay sales. During the pandemic, the
Debtor was considered an essential business(due to the supply of food processing
products) and was allowed to stay open; however, the pandemic still decimated retail
sales. In 2021 the Debtor had its best year and sales exceeded 30 million dollars and
the Debtor employed more than 55 people. In 2022 the Debtor grossed 26 million
dollars followed by 17 million in 2023. The rate of inflation, cost of goods, and
decreasing margins has forced the Debtor to drastically reduce staffing and implement
cost saving measures. Another significant cause of the Debtor's financial distress were

changes in terms in the Amazon line of credit in that Amazon cancelled the revolving

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line of credit and implemented a payment schedule that was next to impossible for the
Debtor to maintain. In 2022, the Debtor was forced to change its market strategy due to
historically profitable products not selling. The Debtor began selling products outside of
its core which included water softener salt, pet food, and bird food. In 2024, the Google
Merchant account for the Debtor was hacked and this negatively impacted cash flow
and sent the Debtor into default on numerous forbearance agreements that were
negotiated necessitating the need for a chapter 11 reorganization.

7. A Subchapter V Trustee has not yet been appointed or designated in this case,
Anthony Portelli is the responsible person for the Debtor.

8. During June, July, August, September months of this case, the Debtor projects
that it will need to spend $1,146,975.52 and in the first 30 days $278,002.46 to avoid
immediate and irreparable harm.

9. The Debtor requests authority to spend these amounts in accordance with the
Budget attached to this Motion, with a 10% variance for each line item or in total.

10. On the Petition Date, the Debtor, without admission, believes that the cash
collateral, as defined in 11 U.S.C. 363 (“Cash Collateral”) consists of the following:

a. Accounts Receivable totaling: $31,771

b. Available funds held in bank accounts: $1,254.00

c. Cash on hand: $500.00

11. For the reasons stated, as well as other reasons, to maintain and sustain its
business operations and preserve the going concern value of its assets and enterprise
value of its businesses, the Debtor determined it would be in its best interests and the
best interests of its creditors and estate to initiate this Chapter 11 case.

12. The proposed cash collateral agreement is intended to permit the Debtor to
utilize cash, accounts receivable and deposit accounts subject to the liens and security

interests of Secured Creditors.

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13.Subject to the terms of the Interim Order and the Budget, the Debtor seeks
authority to use Secured Creditors cash collateral. The Debtor intends to use the cash
collateral to pay debt service obligations to operate the Debtors business in the
ordinary course. Further, Debtor requests the Carve-Out from cash collateral to pay
costs of the Debtor's professionals.

Relief Requested

14. By this Motion, the Debtor seeks authority, pursuant to 11 U.S.C. § 363(c)(2),
Fed. R. Bankr P. 4001(b), and Bankruptcy Rule 4001-2, to use Secured Creditors cash
collateral, substantially in the manner and amounts reflected on the Budget. The
Debtor also seeks the scheduling of a Final Hearing on Debtor's use of cash collateral.

Basis for Relief
15. Section 363(a) of the Bankruptcy Code provides the definition of cash collateral.

11 U.S.C. § 363(a). Cash collateral is defined by § 363 to mean:

. cash, negotiable instruments, documents of title, securities, deposit
accounts, or other cash equivalents whenever acquired in which the estate and
an entity other than the estate have an interest and includes the proceeds,
products, offspring, rents, or profits of property and the fees, charges, accounts
or other payments for the use or occupancy of rooms and other public facilities
in hotels, motels, or other lodging properties subject to a security interest as
provided in section 552(b) of this title, whether existing before or after the
commencement of a case under this title.

16. A debtor is authorized to use cash collateral if the party with an interest in the
cash collateral consents to its use or the Court authorizes its use after notice and
hearing. 11 U.S.C. § 363(c)(2). A court can authorize use of cash collateral over the
objection of the affected creditor where the debtor demonstrates that it can adequately
protect the interests of the party holding an interest in the cash collateral. 11 U.S.C. §
363(e).

17. As reflected in the Budget, during the Interim Period, the Debtors intend to use
the cash collateral to fund essential expenses relating to operation and maintenance of
the Debtor's business and to pay costs of the Debtor's professionals as may be

approved by this Court. Pursuant to 11 U.S.C. § 363(c)(2), the Debtor accordingly
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requests authority of use cash collateral in accordance with provision of the Interim
Order and the Budget to pay ongoing expenses incurred in the ordinary course of
business associated with the Debtors business and payment of prepetition secured
debt and to pay costs of the Debtor's professionals as may be approved by this Court.

18. Provided that the Debtor (i) complies with the provisions of the Interim Order
and the Budget, and (ii) provide the adequate protection contemplated therein (and as
discussed in greater detail below), this Court should authorize the Debtor’s use of cash
collateral for expenditures in accordance with the Budget. The proposed use of cash
collateral will adequately protect the security interests asserted by Secured Creditors
and provide for the operation of the Debtor’s business pending the Final Hearing. See
In re Addison Properties Ltd. P’ship, 185 B.R. 766, 783 (Bankr N.D. Ill. 1995) (collecting
cases regarding use of cash collateral and determination of adequate protection).

19. The Debtor believes that (I) the terms and provisions of the Interim Order are
fair and reasonable under the circumstances and reflect the most favorable terms upon
which the Debtor could obtain the necessary use of cash collateral, and (ii) Secured
Creditors are entitled to the protection afforded under §§ 361 and 363(e) of the
Bankruptcy Code as more specifically described in the Interim Order.

20. Without the ability to use cash collateral to pay for expenses associated with
the operation of Debtor's business pending a Final Hearing, the value of the Secured
Creditors collateral and of Debtor’s business are in jeopardy of serious decline. The
inability of the Debtor to utilize the cash, deposit accounts and receivables will not allow
it to adequately run its day-to-day business operations. Therefore, the Debtor request
interim authority to use cash collateral according to the Budget. Such interim use is
necessary to avoid immediate and irreparable harm to the Debtor's business and the
security interests of the Secured Creditors.

Adequate Protection

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21. Pursuant to 11 U.S.C. §§ 361 and 363(e), the Debtor requests authority to grant
certain adequate protection to Secured Creditors on account of its prepetition liens and
. security interests by granting Secured Creditors replacement liens.

22. As set forth in the Interim Order, and the provisions of section 552 (11 U.S.C. §
552) of the Bankruptcy Code notwithstanding, the Debtor proposes to grant to Secured
Creditors replacement liens and security interests on all further accounts receivable,
cash and deposit accounts in the same priority, validity and extent that the Debtor's
interest in the cash collateral existed as of the Petition Date.

23. The replacement liens shall be liens on the Debtor's assets which are created,
acquired, or arise after the Petition Date, but limited to only those types and
descriptions of collateral in which Secured Creditors held a prepetition lien or security
interest. The replacement liens shall have the same priority and validity Secured
Creditors respective pre-petition security interests and liens.

24. The Debtor's proposed use of cash collateral in accordance with the Budget, is,
in the Debtor’s judgment, sufficient for the Debtors to satisfy its cash needs in order to
maintain and preserve the business.

25. Notice of this Motion has been given to: (a) the United States Trustee for the
Eastern District of Michigan; (b) Secured Creditors; and ( c) top twenty unsecured
creditors. The Debtor submits that in light of the nature of the relief requested, no
further notice is required.

WHEREFORE, pursuant to 11 U.S.C. §§ 361, 362, 363(c)(2), 363(e), Fed. R.
Bankr. P. 4001(b), 4001( c) and 4001(d), and Bankruptcy Rule 4001, the Debtor
requests that this Court: (a) grant this Motion upon the terms set forth in the Interim
Order; (b) schedule a Final Hearing; and (c) grant such other and further relief as is just

and equitable.

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GOLDSTEIN, BERSHAD,& FRIED, P.C.

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Dated: June 21, 2024

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EXHIBIT 1

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

IN THE MATTER OF:

Grow Green MI Inc Case No.24-31158-jda
Chapter 11
Debtor. Judge Applebaum
/

FIRST DAY INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL
AND GRANTING ADEQUATE PROTECTION

Upon consideration of Debtor’s First Day Motion for Interim Authority to Use Cash
Collateral and for Related Relief (the “Motion’) filed by Grow Green MI Inc( “Debtor’)
requesting this Court’s authorization to use the cash collateral of collectively BFG
Supply Company (“BFG”), Amazon Capital Services (“Amazon”), Michigan Department
of Treasury, and CT Corporation Services(“Secured Creditors”) pursuant to 11 U.S.C. §
363(c)(2) and Fed. R. Bankr. P. 4001 due and proper notice of the Motion has been
given to all parties entitled thereto; the Court has considered all relevant matters related
thereto and is otherwise fully advised in the premises; a preliminary hearing was held
on the Motion pursuant to the provisions of Fed. R. Bankr. P. 4001(c)(2); the Court finds
that the Motion should be granted and specifically finds as follows:

A. This Court has jurisdiction of this Case and the Motion pursuant to 28 U.S.C. §§
157(b) and 1334. Consideration of the Motion constitutes a core proceeding as defined
in 28 U.S.C. § 157(b)(2). Venue is proper in this Court pursuant to 28 U.S.C. § 1408.

B. Notice of the Motion and the relief requested therein was served by the Debtor
on Secured Creditors, the twenty largest unsecured creditors, and Office of the United
States Trustee (“U.S. Trustee”)

C. The Debtor has demonstrated that it has an immediate need to use Cash

Collateral, amount other things, to permit the continued operations of the Debtor.

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D. Good cause has been shown for entry of this Order. This Order has been
negotiated in good faith and at arm’s length and the Court finds that the Secured
Creditors have acted in good faith in connection with this Order.

E. The amount of cash the Debtor propose to use before entry of a final order
granting the Motion is set forth in the Budget attached to the Motion. Specifically, during
June, July, August, September months of this case, the Debtor projects that it will need
to spend $1,146,975.52 and in the first 30 days $278,002.46 to avoid immediate and
irreparable harm.

F. The value of the Debtor's estate will be maximized by the continuation of Debtor
as an on-going business and the use of Cash Collateral is essential to such operation.

G. Prior to the Petition Date, the Debtor and the Secured Creditors were parties to
various agreements.

H. As a consequence of the foregoing, the Secured Creditors claim they possess
valid and perfected security agreements in substantially all of the Debtor’s property,
whether tangible or intangible, and wherever located, and whether now or hereafter
acquired and all cash, cash equivalents, proceed, products, and profits in existence
before, on, or after the Petition Date.

NOW THEREFORE, IT IS ORDERED THAT:

1. The Motion is hereby granted on an interim basis subject to the terms and
conditions set forth in this order.

2. The Debtor is authorized to use the cash collateral of each of the Secured
Creditors on an interim basis and pending a final hearing on the Motion (“Final
Hearing”) in a manner consistent with the budget attached to the Motion (“Budget”) to
pay actual, ordinary, and necessary expenses of maintaining its business operations
and to pay costs of the Debtors attorneys and accountants pursuant to the Budget

(“Carve Out”). The Debtor is authorized to pay its attorneys subject to the Carve Out.

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The Carve-Out will be segregated consistent with the Budget line items for professional
fees, into a separate Debtor in Possession Account (“Professional Fee Account’). The
funds in the Professional Fee Account will remain property of the estate, and no
professional may assert a lien or other interest against the Professional Fee Account.
The funds in the Professional Fee Account may be disbursed to estate Professional
upon court approval of their fees.

3. Retroactive to the Petition Date and without the necessity of any additional
documentation or filings, as adequate protection for and to protect the Secured
Creditors against any diminution in value of the pre-petition collateral, the Debtor grants
to Secured Creditors a fully perfected replacement lien having the same validity as, on
the same types of collateral(whether arising prior to, on or after the Petition Date) as
and of the same relative lien priority as held by the Secured Creditors respective pre-
petition liens and security interests held with respect to the collateral (“Adequate
Protections Liens”). The Adequate Protections Liens granted by this Interim Order are
in addition to all security interests, liens, rights of Secured Creditors existing as of the
Petition Date. The relative priorities and rights of payment between and among Secured
Creditors as of the Petition Date shall remain the same as they were prior to the
Petition Date and shall remain in full force and effect pursuant to this Order.

4. All liens and security interests in the Adequate Protections Liens granted to the
Secured Creditors by this Order are deemed duly perfected and recorded under all
applicable laws as of the date hereof, and no notice, filing, mortgage recordation,
possession, further order or act shall be required to effect or continue such perfection
although Secured Creditors may, in their sole discretion make any filing or recordation
or other acts which each deems appropriate with respect to such perfection

5. The entry of this Order is without prejudice to the Debtor’s right to seek authority
from the Court to use additional cash collateral or borrow funds pursuant to 11

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U.S.C.364 if the Debtor determines that the cash collateral authorized by this Order is
insufficient.

6. The Debtor is authorized to use Secured Creditors cash collateral on an interim
basis and pending a final hearing on the Motion (“Final Hearing”) in a manner that is
substantially consistent with the budget to pay actual, ordinary, and necessary
expenses of maintaining its business operations and to pay costs of the Debtor's
professionals. The Debtor's use of cash collateral will conform to the amounts set forth
in the budget with a ten percent (10%) variance.

7. Objections to this Order must be filed within fourteen (14) days from the date of
entry of the Order

8. The Motion is hereby set for a Final Hearing before this Court at

am/pm on , 2024 (such date or such later date to

which the final hearing is adjourned or continued, the “Final Hearing Date”), at which
time any party in interest may present any timely filed objections to the entry of a final
order (“Final Order’) in the form of, and containing relief substantially similar to, this
Order. The Debtor will promptly serve a notice of the Final Hearing, together with a
copy of this Order, by regular mail or electronic mail upon (i) the Office of the United
States Trustee,)(ii)20 largest unsecured creditors, (iii) all secured creditors, (iv) the
United States Trustee's Office.(v) any other party which has filed a request with this
Court for notice in the Debtors’ case and served such request upon the Debtor's
counsel. The notice of the Final Hearing will state that objections to the entry of a Final
Order on the Motion will be in writing and will be filed with the United States Bankruptcy
Court Clerk for the Eastern District of Michigan no later than

, 2024 which objections. will be served so that the

same are received on or before pm (Eastern Standard Time) of such date

by: (i) Scott Kwiatkowski, Goldstein, Bershad & Fried, P.C. counsel to the Debtor, 4000

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Town Center, Suite 1200, Southfield, Michigan 48075; (ii) the Office of the United
States Trustee; (iii) Secured Creditors; (iv) Office of the United States Attorney for the
Eastern District of Michigan, US Department of Justice. Any objections by creditors or
other parties in interest to any of the provisions of this Order will be deemed waived
unless filed and served in accordance with this paragraph.

9. If no timely objections are filed, this Order will become a final order without any
further action by the Court.

10. The Debtor and Secured Creditors may make modifications or amendments to
the Budget or this Order, to take effect only upon written notice approved by all parties,
and all actions taken pursuant to such modified Budget will be and hereby are expressly
authorized hereunder.

11. The Debtor’s authority to use the Secured Creditors cash collateral under this
Order will be effective immediately and will continue until otherwise ordered by the

Court.

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EXHIBIT 2

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Month
Week Ending

Net Cash Received

Operating Cash
Disbursements
Inventory Ordering
Payroll and Payroll
Tax/Withholdings

Health Insurance (BC/BS)

Postage

DTE

Consumers

AT&T

Technology Subs
Supplies

Insurance - General
Rent

sales tax

Advertising (google ads)
Bank and Credit Card Fees

Other Administrative
Expense

6/21 - 6/30 July August September Total

$ 50,000.00 $ 330,000.00 $ 400,000.00 $ 380,000.00 $ 1,160,000.00

$ 20,000.00 $ 210,000.00 $ 280,000.00 $ 260,000.00 $770,000.00

$ 8,225.28 $27,417.60 $27,417.60 $27,417.60 $90,478.08
$900.30 $3,001.00 $3,001.00 $3,001.00 $ 9,903.30
$2,100.00 $7,000.00 $10,000.00. $10,000.00 $29,100.00
$ 800.00 $ 800.00 $ 800.00 $ 800.00 $ 3,200.00

$ 200.00 $ 200.00 $ 200.00 $ 200.00 $ 800.00

$ 380.00 $ 380.00 $ 380.00 $ 380.00 $ 1,520.00

$ 860.00 S$ 860.00 $ 860.00 $ 860.00 $ 3,440.00
$ 500.00 $ 500.00 $ 500.00 $ 500.00 $ 2,000.00
$4,600.00 $4,600.00 $4,600.00 $13,800.00

$ 13,500.00 $13,500.00 $13,500.00 $40,500.00

$500.00 $3,300.00 $4,000.00 ‘$3,800.00 $11,600.00

$ 3,000.00 $10,000.00 $10,000.00 $10,000.00 $33,000.00
$ 500.00 $ 500.00 $ 500.00 $ 500.00 $ 2,000.00

Total Cash Disbursements

For Operations

Net Cash Flow From
Operations

Legal and Professional Fees

Sub V Trustee fee
Adequate protection
payemnt for Vehicles
Variance 10%

Total other

Total Expenses
Net Cash Flow

Cumulative

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$ 37,965.58 S 282,058.60 $ 355,758.60 $ 335,558.60 $ 1,011,341.38

$ 12,034.42 $47,941.40 $44,241.40 $44,441.40 $148,658.62

$ 7,500.00
$1,500.00 $1,500.00

$ 7,500.00
$ 1,500.00

$ 7,500.00
$ 1,500.00

$ 22,500.00
$ 6,000.00

$ 2,000.00
S$ 3,796.56 §$ 28,205.86
$5,296.56 $39,205.86

$ 6,000.00
$ 101,134.14
§ 135,634.14

$ 2,000.00
S 35,575.86
S 46,575.86

$ 2,000.00
S$ 33,555.86
$ 44,555.86

$ 43,262.14 $ 321,264.46 $ 402,334.46 $ 380,114.46 $ 1,146,975.52

$ 6,737.86 $8,735.54 $ (2,334.46) $(114.46) $13,024.48

$ 6,737.86 $8,735.54 $6,401.08 $6,286.62 $28,161.10

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